Case No. 1:23-cv-01557-DDD-STV Document 68-1 filed 04/15/24 USDC Colorado pg 1 of
                                      1




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-01557-DDD-STV

  DARREN PATTERSON CHRISTIAN ACADEMY
      Plaintiff,
  v.

  LISA ROY, in her official capacity as Executive Director of the Colorado Department of Early
  Childhood; and

  DAWN ODEAN, in her official capacity as Director of Colorado’s Universal Preschool
  Program,
        Defendants.

         ORDER AMENDING JOINT AMENDED SCHEDULING ORDER [ECF 61]

          The Court, having reviewed the parties’ Joint Motion to Further Amend Joint Amended

  Scheduling Order dated February 9, 2024 and the Court file, and good cause being shown,

  hereby ORDERS:

          The February 9, 2024, Joint Amended Scheduling Order [ECF 61] is further amended to

  allow Defendants to take three non-party depositions beyond the current April 22, 2024 discovery cut off

  deadline, to be completed on or before April 24, 2024.


                                          _________________________________________
                                          Scott T. Varholak
                                          United States Magistrate Judge




                                                     1
